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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                        CIVIL MINUTES - GENERAL
 Case No.       CV20-08035-SVW (JPRx)                                                   Date   April 26, 2021
 Title          Hong Liu v. Faraday & Future Inc. et al.




 Present: The                  Jean P. Rosenbluth, United States Magistrate Judge
 Honorable
                    Bea Martinez                                                  CS 4/26/2021
                    Deputy Clerk                                           Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                           Attorneys Present for Defendant:
                   Jacob Nachmani                                              Jeffrey M. Goldman
                   Kevin D. Hughes                                                Kevin A. Crisp
                  Amiad M. Kushner                                             Lauren E. Grochow
                                                                                  Alan J. Kessel
                                                                                 Paul B. George


 Proceedings:               (IN COURT): Telephonic Conference re Plaintiff’s Motion to Compel Production of
                            Documents and Determine Urgent Privilege

         Case is called. Counsel make their appearances. Court addresses parties. Argument heard.

         For the reasons stated on the record at the hearing, the Court rules as follows:

         Plaintiff’s production ordered on April 15, 2021, must be made by no later than April 29. Plaintiff’s
expedited motion for determination of urgent privilege issue is GRANTED based on the current state of the
pleadings. The production Defendants have agreed to make (see Opp’n at 17-18, 20) must be made by no later
than April 30. The rest of the withheld production concerning Liu’s employment with Defendants – none of
which is shielded by privilege because any such privilege has been waived – must be made by May 5. The Court
stays its order concerning the May 5 production until April 28 to allow Defendants to seek further relief and stay
from Judge Wilson in whatever form they deem appropriate. If they do not so move by April 28, the May 5 order
will stand.

       The parties are ORDERED to meet and confer today to try to resolve the broader privilege-waiver issues
among themselves and, to the extent they do so, must file an appropriate stipulation by no later than April 28.


         cc: Judge Wilson



                                                                                                       :        45
                                                                 Initials of Preparer                bm


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